           Case 1:21-cv-01125-HG-CLP Document 58 Filed 05/04/23 Page 1 of 2 PageID #: 272

   AO 440 (Rev. 06/12) Summons in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                       Eastern District
                                                   __________  District of
                                                                        of New York
                                                                           __________

                      ILUMINADA ORTEGA                             )
                                                                   )
                               Plaintiff(s)                        )
                                                                   )
                                                                   )
                                                                   )
CHAMPAGNE ROOM BK, INC d/b/a DRAFT BARN                                    Civil Action No. 1:21-cv-01125-HG-CLP
d/b/a END ZONE SPORTS BAR & LOUNGE,                                )
                                                                   )
RUBEN YEGHOYAN, and SARKIS AVOYANTS,                               )
                                                                   )
                                                                   )
                              Defendant(s)                         )

                                                   SUMMONS IN A CIVIL ACTION

   To: (Defendant’s name and address)
                                          SARKIS AVOYANTS
                                          233 Avenue W
                                          Brooklyn, NY 11223


             A lawsuit has been filed against you.

            Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
   are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
   P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
   the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
   whose name and address are: JONATHAN SHALOM, ESQ.
                                          SHALOM LAW, PLLC
                                          105-13 METROPOLITAN AVENUE
                                          FOREST HILLS, NEW YORK 11375



          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
   You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


   Date:     May 4, 2023
                                                                                        Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
